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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA,


                                     Plaintiff,
                                                                    DECLARATION
-vs-




                                                                    CaseNo. 19-CR-227
JOSEPH BONGIOVANNI,
PETER GERACE, JR.


                                     Defendant.




STEVEN M. COHEN, Esq., being duly sworn, deposes and says:


                                                  BACKGROUND


       1.      Declarant is the attorney presently retained to represent Defendant, Peter Gerace, Jr. This


               declaration is in support of Mr. Gerace’s motion pursuant to 18 U.S.C. §3145 (a)(2) for a

               modification of bail conditions.


       2.      This motion is made with the consent of the Office of Federal Probation, specifically, PO

               Michael Macaluso, with whom I spoke and who left a voicemail message to me that his

               office has no objection to modifying the current order from home confinement with GPS

               tracking, to a curfew with GPS tracking.


       3.      I followed up Mr. Macaluso’s voicemail with a telephone conversation, and represent as

               an officer of the Court that Mr. Macaluso made the aforementioned representation to me,

               and this motion is on consent of the Office of Probation.




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     4.        AUSA Joseph Tripi, Esq. has already communicated his opposition to this motion, such


               that this motion is not on consent of the United States Attorney’s Office, and is in fact

               vigorously and intensely opposed by them.


      5.       On February 25, 2021, Defendant was indicted by a Federal Grand Jury in five (5) counts

               of a Second Superseding Indictment, with codefendant Joseph Bongiovanni. Dkt 89

      6.       That same day, an Arrest Warrant was issued by the Clerk of the Court (WDNY). (See

               Dkt 107 which is the filed Return of the Warrant filed 3/22/21 with the original warrant

               dated 2/25/21)


      7.       On March 1 , 202 1 Defendant was arrested on an indictment warrant while on vacation in

               Florida and arraigned before United States Magistrate Judge Alicia O. Valle in the United

               States District Court for the Southern District of Florida on March 2, 2021.

      8. Magistrate Alicia O. Valle released Defendant on conditions pursuant to 18 U.S.C. §3142

               (3)(a). Dkt 93, Rule 5(c)(3) (Condition of Bond and Order of Removal).

      9. The Conditions of Bond and Order of Removal provide for Mr. Gerace to refrain from

               the use of alcohol, to participate in Home Detention, and to stay away from his business,

               Pharaoh’s Gentlemen’s Club, located at 999 Aero Drive, Cheektowaga, New York. Both

               his home and his place of business are located in the Western District of New York. (See

               Southern District of Florida Criminal Docket 0:21-mj-06112-AOV at that docket’s 2 and

               3, which are re-filed in the instant Docket 1 : 1 9-cr-00227 at Dkt 93)

      10. On March 25, 2021, Defendant moved to modify the terms and conditions of his release,

               requesting that Defendant Gerace be allowed to be physically present at his business. Dkt

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      1 1 . Asst. United States Attorney Joseph M. Tripi vigorously opposed then, as he does now,


               the request to alter release terms and conditions. Dkt 1 1 0


      12. The Hon. John L. Sinatra, Jr. heard oral argument in the United States District Court for


               the Western District of New York on April 14, 2021. Dkt 1 1 1


      13. In reviewing the terms and conditions imposed upon Defendant's release, the Court


               weighed the infringement of Defendant’s constitutional rights against his potential for

               danger and/or risk of flight. (Exhibit A, Transcript of April 14,h proceedings)

      14. The Court specifically determined, “(1) find that the combination of conditions previously


               imposed is not the least restrictive combination of conditions to reasonably assure the

               safety of others in the community. And in particular, 1 find that the condition that Mr.


               Gerace stay away from Pharoah’s Gentlemen’s Club at 999 Aero Drive, Cheektowaga, is

               more restrictive than necessary, as stated, to reasonably assure the safety of others and the

               community.” See Exhibit A at 20-2 1 .


      15. The Court altered the terms and conditions to provide for Defendant’s physical access to

               his business from 7:30 A.M. until 10:30 A.M., ordering that Defendant was to be alone in

               the building, and precluding any contact with any other employees of Pharoah’s or any

               individuals effectuating product deliveries. See Exhibit A, Transcript of Proceedings,

               April 14, 2021, at 21. See also Dkt 1 12, which is the Modification Order.


      16. It must be noted that the entirety of the premises, with the exception of rest rooms and

               closets, is monitored by approximately 60 cameras, remote access to which has been

               offered to the United States Attorney, indeed all law enforcement.




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      17. The AUSA continues to speak of the “dangerousness” of allowing Mr. Gerace even basic

               freedoms, which compels me to ask what evidence exists that Peter Gerace poses a


               danger to society?


      18. In Mr. Tripi’s opposition to the application for Mr. Gerace’s access to his business, he


               noted “Unfortunately, the investigation of the defendant has taken time” and [defendant]

                consented to searches of electronic devices seized from his home and business in


               December 2019.” (Dkt 1 10, p. 6)


      19. The Defense agrees with both of those assertions, the government has taken quite a bit of

               time to “investigate” this case, and Mr. Gerace has been cooperative in consenting to

               searches of his home and business.


     20. Mr. Tripi goes on to say with great emphasis that “US Probation received information

               that the defendant was in fact operating Pharaoh’s and distributing cocaine from that

               [Pharaoh’s] location.   Accordingly, on October 31, 2009, US Probation conducted a

               search, as described in the post-search memorandum attached as Exhibit B.” (Dkt 1 10, p.

               8)

     21. The detail left out of any part of Mr. Tripi’s recitation is that Exhibit B references

               information that the property was put under surveillance by a joint task force of US

               Probation, FBI and Cheektowaga Police, that the officers “moved in, subject was secured

               and the building was cleared... however, no controlled substances were founds       Dkt


               1 1 0-4 [Emphasis added]


      22. Dkt 110-4, relied upon by Mr. Tripi in his 4/8/21 Response (Dkt 1 10) is a Memorandum

               dated February 16, 2010, reporting on an 11 year old suspicion from October 31, 2009

               that proved unfounded. Even if controlled substances were found in that 2009 raid, or



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                any evidence was found supporting any of the charges for which Mr. Gerace was indicted

                in the Second Superseding Indictment of February 25, 2021, the statutes of limitation

                would have long run.


      23. Mr. Trippi alleged for at least the second time with great fervor in open Court on April

                14, 2021 that Mr. Gerace threatened someone on a Facebook post back in 2019.


                (Transcript at p. 7) He has yet to produce any documentation of any such threat.


      24. 1 represent, as a senior member of the Defense Bar, and as an officer of the Court, that I

                have received not one shred of documentary or credible evidence that Mr. Gerace has

                committed the crimes set forth in the superseding indictment that includes Mr. Gerace, to


                wit: Count 2 (conspiracy to defraud the US), Count 6 (paying a bribe to a public official),

                Count 7 (maintaining a drug-involved premises), Count 8 (conspiracy to distribute drugs)

                and/or Count 9 (conspiracy to commit sex trafficking).

      25. This is the first time in my career that by the time a trial in federal court has been

                scheduled, I have absolutely no idea what evidence exists to incriminate my client.

                None.


      26. Your declarant, Steven M. Cohen, Esq., replaced Joel Daniels, Esq. as trial counsel on or

                about August 1 0, 202 1 . See Minute Entry of 8/ 1 0/2 1

      27. On September 10, 2021, declarant filed another motion to modify the defendant’s

                conditions of release after a thorough review of all discovery material turned over by the

                United States Attorney’s Office which contained no direct or credible evidence that the

                Defendant was involved in any of the crimes alleged in the indictment. See generally

                Cohen Declaration, paragraphs 22-38, Dkt 190-1




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      28. Mr. Tripi, again, offered no credible evidence that Mr. Gerace poses a threat of danger to


                anyone.



      29. The Government filed its response to this motion on October 4, 2021, Dkt 202, saying in


                summary, that the motion should not be granted because of the seriousness of the crimes


                alleged and because the Defendant tested positive for cocaine when he was arrested on

                February 28, 2021, after saying he had not used cocaine for about a year and a half. Dkt


                202


      30. In its response, the Government also made a cross-request in the context of this motion

                asking to exclude the Defendant from the Earned Leave Program, which allowed the


                Defendant to accumulate “earned leave” of up to 8 hours per week as part of the terms of


                home detention supervision, and for probation to disclose GPS information collected by

                the U.S. Probation Office.1 See generally Dkt 202, p. 14-19

      31. If the Gov’t had any evidence at all of “dangerousness”, it would not need to resort to a


                2010 memo of a 2009 raid which yielded nothing of a criminal nature, and would not

                have needed to remind the Court that Mr. Gerace tested positive for cocaine on the day of

                his arrest. The gov’t would surely have had more to offer this Court as justification for

                its position that Mr. Gerace not be allowed to work full time, or leave his home

                confinement, or take his son to extra-curricular activities, or have wine with dinner.

      32. On November 9, 2021, Hon. Michael J. Roemer denied Defendant’s motion to modify his

                conditions of release, explaining, “Hon. John L. Sinatra, Jr. has already determined that

                the current conditions of release are the least restrictive combination of conditions

                necessary to assure reasonably the safety of any other person and the community. See



1 The Court considered what has been termed here a “cross-request” to have been an actual cross motion by the
prosecution, as referenced in the Text Order at Dkt 214.

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               Text Order at Dkt 214, Transcript of April 14, 2021 [118], at 20-21; Modification Order


               [112]; see also 18 U.S.C. 3142(c)(1)(B).


      33. Hon. Michael J. Roemer also denied the government’s cross-motion for the Defendant to


               be excluded from the Earned Leave Program and for the disclosure of certain GPS

               information collected by the U.S. Probation Office. Dkt 214


      34. 1 have personally confirmed that Defendant has remained fully cooperative with pretrial

               services with United States Probation Officer Michael Macaluso and confirmed that Mr.

               Gerace has remained compliant with all terms and conditions of release.

                                    PHARAOH’S GENTLEMEN’S CLUB


      35. Defendant has been the owner of Pharoah’s Gentlemen’s Club since 2018 and has been

               employed there for over fifteen ( 1 5) years.


      36. It has now been over fifteen (15) months since my declaration in support of modification

               of bail release conditions (Dkt 190-1) and I represent as an officer of the Court that I

               haven’t received any direct or credible evidence even to this date that my client has

               committed any of the crimes for which he has been indicted.

      37. Pharaoh’s has approximately seventy employees at any one time which include dancers,

               bartenders, security personnel, servers, kitchen help, and floor managers. I have, to date,

               interviewed 1 1 3 present and past employees and have received no indication that

               Defendant Peter Gerace has committed any of the crimes for which he has been indicted.

               None at all.


      38. As the owner of the club, Defendant would generally engage in periodic tastings of

               various new brands of alcohol that may be purchased and served by the club, as well as

               seasonal tastings of new menu items prepared within the kitchen at Pharaoh’s.




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      39. The condition imposed precluding Defendant’s attendance at the club in the presence of


                other people has prevented him from the ability to participate in these meetings which


                occur in the ordinary course of business. Furthermore, the preclusion of the consumption


                of alcohol has restricted his ability to test product that would be purchased for resale,

                another regular function of running the club which occurs in the ordinary course of

                business.


      40. The club has also been undergoing substantial reconstruction including, but not limited


                to, the installation of new booths, bars, flooring, seating areas, stages, and new pavement

                in the parking lot which reconstruction is estimated to cost hundreds of thousands of

                dollars.


      41. The currently imposed conditions of bail have precluded Defendant from oversight of

                construction and the ability to view and select and test products for use at the club.


      42. Defendant has also been unable to respond to the club when issues have arisen with

                malfunctioning equipment and to immediately resolve any issues to ensure continuation


                of standard business operations.

      43. In the event of a delivery while Defendant Gerace is at the club, Defendant is forced to

                vacate the premises to comply with the pretrial supervision orders and cannot return to


                his business until they have completed the delivery precluding him from the ability to

                check the delivery in the presence of the delivery person and ensure everything that was

                ordered was in fact delivered.


      44. For the entirety of his ownership of Pharoah’s, Defendant has held employee meetings

                every three (3) months, which generally include his management staff as well as security

                and bartenders.




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                                   EVIDENCE OF THE PENDING CHARGES


      45. On or about April 5, 2021, the United States Attorney’s Office turned over voluminous

                discovery materials which include data from large-scale investigations spanning longer

                than a decade.


      46. A thorough review by my office of the discovery materials has provided documentation

                of only a single sale of marijuana to an undercover officer in 2018 by an employee of

                Pharoah’s, and two undercover controlled purchases of a small quantity of narcotics by

                employees of Pharoah’s in 2015. Neither contained any evidence linking the Defendant


                to this conduct.


      47. After interviewing over 100 employees, it is quite clear that all employees are aware that

                the possession, use, sale or purchase of drugs will result in immediate termination by

                Peter Gerace, who has maintained a zero tolerance for drugs on those premises.

      48. Although two (2) search warrants were executed both at Defendant’s home on Lexor

                Lane in Clarence, New York, and at Pharaoh’s Nightclub, there was no evidence

                recovered that substantiate any claims made against Defendant in the Indictment. Or

                at least none that the prosecution has chosen to share even as of this late date.

      49. Although there are hundreds of thousands of documents and digital bits pertaining to

                multiple investigations into various drug organizations, it should be noted that none of

                those investigations reveal any direct evidence connecting Defendant to those narcotics

                investigations, and further no direct evidence connecting Defendant to any crimes

                associated with sex trafficking.




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     50. If such evidence existed, why would the US Attorney keep it from defense counsel? Or

               the Court?   Or if the Court has been made aware of actual evidence against my client,


               why would the Court choose to keep that evidence from defense counsel, unless the


               intention here is to prevent counsel from being able to mount a defense?


     51. Mr. Gerace’s defense team is aware of only one "witness” to the terrible crimes of which

               Mr. Gerace has been accused: Ex-Wife Katrina Nigro.


     52. Based on Ms. Nigro’s radio show/podcast/social media posts, she claims to be the

               primary witness who convinced the Federal Grand Jury to indict her ex-husband Peter


               Gerace. Some of the discovery provided to Defendant by the United States Attorney’s

               Office includes recorded phone calls placed by Katrina Nigro during her confinement at


               the Erie County Correction Facility in 2017.


      53. During these two phone calls, Ms. Nigro admitted that the Town of Amherst Court

               ordered a two (2) doctor examination to determine whether she was mentally competent

               to participate in court proceedings due to her extreme falsifications during court

               proceedings. A copy of these calls will be provided to the Court upon request.    Ms.

               Nigro’s false claims are well known to her circle of friends, well known to police

               agencies and were, or should have been well known to Mr. Tripi had he conducted even a

               modicum of due diligence into Ms. Nigro before subjecting a grand jury to her


               prevarications.


      54. It should also be noted that Ms. Nigro was recently incarcerated for six months for

               vehicular assault in Erie County, a sentence which was handed down by Erie County

               Judge Hon. Kenneth F. Case on August 19, 2021. Judge Case also sentenced her to 5

               years of probation, which she is currently on.




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      55. 1 mention this because during the sentencing proceeding before Judge Case, Ms. Nigro


                attempted to manipulate the Court into imposing a lesser sentence by stating that she is


                working with Assistant United States Attorney Joseph Tripi in the instant case, and as a


                government asset, should be accorded some leniency. See Exhibit B, p. 5.


      56. It has also been revealed that Ms. Nigro perjured herself in the Federal Grand Jury


                Proceedings, which record has been sealed but is available upon request. This same Ms.


                Nigro made unsubstantiated accusations that resulted in the disqualification of Mr.


                Gerace’s chosen trial attorney, Joel Daniels, Esq.


      57. A review of a total of 868,000 pieces of “evidence,” including but not limited to 458,000

                digital data files, 12,000 financial documents, and 398,000 miscellaneous data, has


                revealed no evidence the Defendant has committed any crimes.


      58. All applications for search warrants of Mr. Gerace’s home and premises have been

                sealed.


      59. It is submitted that the revelation of the weaknesses of the evidence supporting the

                Federal Indictment, as well as the discovery of the perjury committed by Ms. Nigro and


                the illegal phone search at the border, would constitute a change in circumstances since


                the Court’s decision to alter terms of Defendant’s release on April 2021.

                                               RISK OF FLIGHT


      60. As previously discussed herein, Defendant is the owner of a profitable business in

                Cheektowaga, New York, and he is willing to provide a substantial bond to demonstrate


                his intent to appear at any and all court appearances, although there has never been an


                instance of Mr. Gerace failing to appear before any court at any time.




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     61. Defendant is in the midst of paying considerable sums to renovate the appearance of the

           club, which would increase its profitability. It is counterintuitive that Defendant would


           flee the area to evade prosecution.


     62. Defendant also owns a house in Clarence, New York and is the custodial parent of his

           minor son who is enrolled in school in the WDNY.


     63. Defendant has been regularly briefed with respect to the nature and quality of the

           evidence that has been provided by the United States Attorney’s office, and he has

           repeatedly expressed his desire to stand trial so that he may be publicly exonerated.

     64. Defendant’s desire to prove his innocence suggests that he is not a flight risk.


     65. Defendant has fervently maintained his innocence since the commencement of the

               proceedings against him.


                                              RISK OF DANGER


     66. During the arguments that took place on April 14, 2021, before the Honorable John L.

               Sinatra, the Government alluded to potential messages received by a potential witness


               from an individual who may have been with Defendant.


     67. Specifically, the Government stated, “There has been a witness that received threats

               through a Facebook account during a scenario where Mr. Gerace was present with the

               person who was - we’re still investigating it. So, I don’t want to go too far into it. But

               essentially, calling the witness a snitch and things of that nature, which was perceived as


               a threat by the witness.” See Exhibit B p. 6-7.


     68. When asked for the date of this alleged incident, the Government indicated that it

               occurred in or around November 2019. See Exhibit B, p. 7.


      69. To date, defense counsel has not received physical evidence of this alleged threat.




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      70. In reviewing the discovery provided by the United States Attorney’s Office, 1 have seen


                no further evidence that Defendant has acted in any manner that could be perceived as


                intimidating or violent since this alleged incident from 2019.


      71 . It should be noted that this incident is alleged to have occurred before Defendant’s arrest


                and prior to his involvement with Federal Probation Officer, Michael Macaluso.


      72. Mr. Macaluso has indicated that Defendant had been completely compliant with pretrial


                services for the past twenty-two (22) months, and that he has no concerns that Defendant

                poses a risk of flight and has no objections to a change in the conditions of Defendant’s


                release to comply with a curfew rather than home detention.




WHEREFORE, Defendant respectfully requests that the release conditions be modified to a

release secured by a bond.


Dated:                 December 29, 2022


                                                              s/ Steves m. Cohcuv



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